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1209 N Westmoreland Dr. Orlando, FL 32804 EU isiRiC on
407-630-1349 GRANDE
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17 years old

UNITED STATES FEDERAL DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

William Henry Hamman
Ava Bass Hamman
Alfred Risien Hamman
Careen Mae Hamman
William Wilbert Hamman (deceased)

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| Case No:

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Plaintiffs |

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COMPLAINT

(oNF-W- MIS SOR Et IOC

VS. Lower Tribunal Cases:
Valencia College Board of Trustees, University SC19-522
of Central Florida Board of Trustees, Youndy SC19-386

Cook, BakerHostetler, Patrick Muldowney,
Ashley Schachter, Ron DeSantis
Defendants
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Claim #7 - Habeas Corpus to Remedy Illegal, Systematic Restraint of Physical

 

Liberty re Valencia’s Underage Escort Requirement ---- -----30)

 

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I allege:
JURISDICTION
l Jurisdiction of this action is founded on 28 U.S.C. § 2241, 42 U.S.C. § 1985,

& 28 U.S. Code § 1257

PARTIES

2 I am a resident of Orange County, Florida as is my Dad Alfred and my Mom
Ava. William Wilbert and Careen, my grandparents, are from Seminole County

Florida.

3 Defendants are all residents of Florida and do business in Orange County
Florida, except for the Governor and the office of the state which reside in

Tallahassee but do business through their agencies in Orange County

+ Defendants are government officials or their representatives with the power

to contract and be sued as trustees for their respective institutions.

5 Defendants are sued in their individual and official capacities

laim #1 - 1983 14th Ammendmen r Piph laim

6 This claim is on the fours with Carey v. Piphus, a case which was decided

8-0 in the United States Supreme Court in 1978. The issue in Piphus is that
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students had been denied 20 days of education without the benefit of notice & a
hearing on the substance of the charges by the school prior to suspension, therefore
the standard for necessary procedural due process is set at 20 days deprivation of

education

7 The parties are not merely similar, but identical. At all times in the
denial Jarius Piphus and I were both minors with rights and responsibilities to
participate in the states education program per law. Defendants / respondents in
the underlying cases are both state agencies with explicit, statutory & ministerial
responsibilities to provide such educational programming to students who are

legally eligible

8 The circumstances of this claim are not merely similar, but are also
identical. This claim seeks relief for the denial of 20 continuous days of legally
eligible education as I have indisputably been denied in excess of 20 days of

education

9 The issues in this claim for relief are likewise identical. [I was denied the
right to participate in education which was ministerially due to me under law and I
was not given notice or an opportunity to appeal the decision on the substance

prior to such denial
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10 +The relief sought in this claim is identical to that described in the salient
paragraph of Piphus which declares appropriate damages shall vindicate actual
injury and that punitive damages shall not attach in the absence of malice in the

denial of the right deprived

Claim #2 - 1983 ys UCF & Valencia -

11‘ [have a substantive due process right to education guaranteed by the 14th

amendment

12.‘ That civil right ensures that the constitution of the United States further

protects my explicit statutory right to the Dual Enrollment program per Florida

Statute 1007.271

13. Iam denied these explicit statutory and civil nghts

14 ‘It is not in dispute that the root cause of this denial is a set of policies and

requirements for the Dual Enrollment program

15 Respondents’ explicit words in the disputed requirements on their web sites

are in direct contradiction with the black letter of Florida Statute 1007.271
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16 Respondents both explicitly require a high school GPA for home
education students for participation in the Dual Enrollment program (Appendix pgs
XXX & YYY)
“A high school grade point average may not be required for home
education students” Florida Statute 1007.271(13)(b)(1)
17 Therefore, I am currently in abeyance of my civil right to substantive due
process and the indisputable statutory rights granted by Florida Statute
1007.271(13)(a) directly due to respondents actions which explicitly contradict the
black letter of a valid statute and pray relief from this and all other abuses

enumerated in the memorandum of abuse incorporated as if inserted here

Claim #3 - 1983 re PERT

18 Those additional abuses include a nearly prohibitive testing requirement
which is explicitly illegal, as #:S 1007.271 et al provides legal eligibility for the
program upon attainment of predetermined criteria including which placement test

shall be used and exactly what the specific attainment hurdles are.

19 Ifa legally eligible student shall choose to take an english or math course
they must prove their readiness for such by passing the appropriate section of the

PERT required per FS 1008.30(6)
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20

zd

“A student may not be enrolled in a college credit mathematics or
English course on a dual enrollment basis unless the student has
demonstrated adequate precollegiate preparation on the section of the
basic computation and communication skills assessment required
pursuant to subsection (1) that is appropriate for successful student
participation in the course” Florida Statute 1008.30(6)

The P.E.R.T. test is the single test referred to in section 1

Valencia requires college-level attainment of all three pieces of PERT as an

initial eligibility requirement, UCF requires all three pieces of either the SAT or the

ACT as an initial eligibility requirement. (App pg# XXX & YYY)

22

If there is any concern that respondents have additional discretion to add

these requirements, FS 1007.271(3) carves out the only exception in regards to the

discretion to make additional eligibility requirements.

23

“Florida College System institution boards of trustees may establish
additional initial student eligibility requirements, which shall be
included in the dual enrollment articulation agreement, to ensure
student readiness for postsecondary instruction. Additional __
requirements included in the agreement may not arbitrarily prohibit
students who have demonstrated the ability to master advanced
courses from participating in dual enrollment courses” F/orida Statute
1007.271(3)

This requirement definitely does “arbitrarily prohibit students who have

demonstrated the ability to master advanced courses from participating in dual

enrollment courses” because a student is eligible with a 2.0 for career training and
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eligible with a 3.0 high school GPA (except home ed students who may not be
asked to provide GPA). Once eligible, the only restriction is that if a student
chooses to take math or english that they have to pass that section of the PERT
prior to enrolling in that math or english class. Therefore it does arbitrarily
prohibit participation by those with appropriate high school GPA and legal
eligibility from participating in every other subject but math & english. For
instance, a student who is a genius in science but a poor writer who couldnt pass

that piece of PERT would be illegally denied science classes.

24 The first salient point in this claim is that this requirement opens the abuse
suffered to include all public and private school students in addition to the home

education students abused in claim 1

25. The second salient point is the point of fact that every single college and
university in the state have the same illegal requirements, meaning that this abuse
is currently being suffered by each of the more than 1.5 million minors in grades

6-12 in the state

26 The third salient point is that they have already irreparably injured 2.5
million minors whose time in high school has come and gone, minors who have no

way to be made whole in regards to their ability to now participate and citizens
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whose lives have been inexorably altered by this denial of their indisputable rights

under the 14th and FS 1007.271 et al

laim #4 - 1985 F, Valencia, B

27. The above abuses are all executed through the deceptive representation on
the BoG & BoE’s web member institutions’ web sites which deny minor students’
explicit statutory rights. This is clearly systematic fraud deployed on a mass scale
and the web site is the mechanism of fraud which delivers the final, terminal abuse
for most would-be eligible students. Therefore, everyone denied their rights, all
four million of us, have been denied them hrewdl fraud if they happened to rely
on the internet for their information. This means that the Dual Enrollment fraud

which has been ongoing since 2002 and has touched every single one of us

28  Tobeclear, we believe that we have now proven that Will’s rights have
been not only denied, but defrauded due to “just” this. His civil rights have not

just been denied, but have been deceptively (therefore fraudulently) denied.

29 In Spring of 2016, Will presented to UCF & Valencia seeking enrollment for
the Summer term. He was summarily denied summer and fall at Valencia and
denied the right to even apply at UCF because at the time they illegally denied

having to even accept applications from home education students at all

10
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Claim #4.1 - Overt Act of Fraud in Service of the Fraud in the Furtherance

30 In Spring 2016 the fraud in the furtherance reared its ugly head when he
began attempting to appeal to each level of administration as to why he could not
participate with applicable laws in hand. He was seeking a hearing on the
substance of why he could not participate as law explicitly states. His pleas for
such hearing went ignored at each level up to Dr. Hitt’s office, whose assistant
Miss Nancy testily referred us to counselor Youndy Cook when we politely shared

the laws with her.

31 In the conversation with counselor Cook where we plainly stated that he
seemed to have a legal right and did in fact place controlling authority in her hand
(actually she snatched it from mine) in the form of the DoE’s Dual Enrollment
FAQ. The DoE FAQ succinctly summarizes and cites all relevant laws for the
program. At that time and in direct response to being shown black letter law that
says that they must provide the program upon completion of specified criteria,

UCE lied to us about the state of law of the word “shall” and simply told us that we
did not understand the law and that words did not import their plain language
meanings within the law. This is indisputable. (Motion for Summary Judgement

pe# XXXX)

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32 The canons of statutory interpretation directly show this to be false as plain
language meaning is the first canon of construction which, if sufficient, precludes
the need for any further interpretation. She clearly lied in this regard - a lie which
was in the service of the underlying fraud. By this point, we indisputably have
fraud in the furtherance of the underlying Dual Enrollment fraud on the part of

counselor Cook and UCF.

Claim #4.2 - Overt Act of Fraud in Service of the Fraud in the Furtherance

33. —s In the Fall of 2016, Will filed papers requesting a declaratory judgement for
Valencia’s abuses. It was not well pleaded but it did contain the controlling
authority of FS 1007.271 which shows their ministerial duties in plain language on
it’s face. The attorneys at BakerHostetler knew or should have known
immediately upon reading the complaint that their client, Valencia, was in fact
breaking the law. Contravention with law is clear from claim #2 above, (among
others), and the Rules Regulating The Florida Bar speak directly to these
situations.

“Meritorious Claims and Contentions. A lawyer shall not bring or

defend a proceeding, or assert or controvert an issue therein, unless

there is a basis in law and fact for doing so that is not frivolous”
Rules Regulating The Florida Bar 4-3.1

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34 There can be no basis in law for defending the home education GPA rule in
the face of respondents explicit statement of intent to break the black letter of FS

1007.271(13)(b)(1) which is hosted on state web servers.

A lawyer shall not counsel a client to engage, or assist a client, in
conduct that the lawyer knows or reasonably should know is criminal
or fraudulent” Rules Regulating The Florida Bar 4-1 .2(d)
and
“Criminal or Fraudulent Conduct. A lawyer who represents a client in
an adjudicative proceeding and who knows that a person intends to
engage, is engaging, or has engaged in criminal or fraudulent conduct
related to the proceeding shall take reasonable remedial measures,
including, if necessary, disclosure to the tribunal.” Rules Regulating
The Florida Bar 4-3.3(b)
35 There can be no good-faith claim by a lawyer that they did not understand
that respondents were breaking black letter law. They knew (by virtue of our
making both directly aware,) and reasonably should have known that the
underlying act is criminal or fraudulent. Therefore, by filing any paper in the

case BakerHostetler did in fact join the fraud on procedural grounds by acting in

it’s furtherance per R.R. TFB. 4-3.

36 ~~‘ Then the criminal cabal said “hold my beer” & went “Florida man”

Claim #4.3 - Overt Act of Fraud in Service of the Fraud in the Furtherance

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37 In their first filing in the case, Valencia moved for dismissal on the grounds
that Will was already a student - gas-lighting the court into believing that we were
so misguided and frivolous that we didn't understand this basic tenet nor if he was
even in fact enrolled. This point of fact is indisputable (Motion for Summary

Judgement pg# XXXX)

38 This gas-lighting was effective in the face of incontrovertible points of fact
and law. The indisputable fact that they materially lied in that first filing ensures
that this must be seen as an overt act of fraud in the furtherance of the underlying

Dual Enrollment fraud.

39 It went unargued in the record that we told counselor Schachter directly on
the phone that Will was not in fact enrolled in school and that the case could not be
dismissed on those grounds and that we would be seeking redress for the additional
policies which were vexing his rights. 20 minutes after we told her this directly
she filed fraudulent evidence in their narrative while she should have been
responsible for knowing before offering it as evidence. This is indisputable.

(Motion for Summary Judgement pg# XXXX)

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40 It should be noted that BakerHostetler had been disqualified within the
previous month by Preet Bharara for lying to the tribunal while defending Valdimer
Putin through his cutouts Natalia Veselnetskya and Prevezon in the Magnitzky
Affair. (Appendix pg #XXXX)_ This indisputable point of fact shows the
egregious nature of the criminals that UCF & Valencia knowingly sought out to

join in their conspiracy

41 We filed a reply to that motion to dismiss on November XXXX, 2016 which
specifically stated that their claim that Will was admitted wasa lie. (App pg#
XXXX) It wasnotretracted. BakerHostetler, UCF & Valencia to this day have
not retracted this claim, a claim without which the entire motion to dismiss would

fall and the case would have been properly decided in Fall of 2016

42 Instead, they did not retract but rather repeated this lie to Judge White in the
May 2017 hearing. They also indisputably failed to comply with the R.R. 7B.
when they failed to disclose to Judge White controlling authority which had
indisputably been made known tothem. These two points of fact are

indisputable. (Motion for Summary Judgement, pg# XX XX)

43 These are two more overt acts which are acts of fraud in and of themselves

and are acts in furtherance of the underlying Dual Enrollment fraud

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44 This indisputably caused the case to continue and Will was forced to drop
one class in order to figure out enough law to sustain the suit. (Motion for

Summary Judgement, pg# XXXX)

45 Therefore, Valencia & BakerHostetler’s fraud upon the court has already
forced Will to drop out of a course that he was enrolled in, and he did so in order to
attempt to fight to live another day toward earning his right to simply attend high

school per law

46 _ But before he could reply to the Judge’s order to resubmit the complaint,
Valencia committed another act of illegal policy deployment which materially
denied his education further, so we reasoned that we could resubmit in this or
another case if and as necessary. After Will dropped that course in order to
overcome defendant’s fraud upon the court, they informed him of the illegal “one
withdrawal” requirement, meaning that if he took another W that he would be
illegally thrown out of the program and simply not allowed to log in to enroll.

This is indisputable. (Motion for Summary Judgement, pg# XXXX)

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47 Again, the only possibility of a Piphus hearing by this point is finding a way
to actually win against a criminally fraudulent conspiracy which was abusing

students of hundreds of millions of dollars of education per year.

48 __ As they say, “that escalated quickly”

Claim #4.4 - Overt Act of Fraud in Service of the Fraud in the Furtherance

49 While trying to figure out law after his annual vacation with his
grandparents in July, Valencia made this fight personally malicious in denying a
high level course for which Will was indisputably legally eligible. This is

indisputable. (Motion for Summary Judgement, pg# XX XX)

50 Then he had to try to figure out how to file and execute a verified temporary
injunction in order to join the course he was legally rightfully eligible for before it
started and the ship left port. Even though this was during the hurricanes which
left Will with both a broken foot and hand from clearing debris accidents, he
figured out enough that each of these should have been treated as petitions for
mandamus under XXXX & the case should have been decided three times, once
for each motion which the Judge was supposed to have read and evaluated on it’s

merits.

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51 This is when he appealed to Judge Lauten as their boss (obviously
incorrectly,) and Judge Lauten’s email pointed to our need to have acted in
certiorari prior to teh receipt of the email back from Judge Lauten telling us that he

had no authority to act

52 Because justice in that case had been irreparably defrauded for reasons
which we didnt understand nor believe was wholly the fault of our ignorance, we
chose to leave behind the claims upon illegal hurdles that he had already cleared
and focus on not letting Valencia steal this course from him the next time it was
offered which was Summer 2018. He filed another case against Valencia in ????
Dec of 2018????? with a much better pleaded request for declaratory judgement
and injunctive relief focused only on this one course which Will had legal right to
be in, a petition which should have again been treated as a petition for mandamus

under XX XX and the relief been granted.

53 Defendants once again broke the R.R.7'/:B. 4-3.1 by once again overtly
committing fraud upon the court in offering a defense which had no basis in law

and was clearly in support of fraudulent denial of rights granted under FS 1007.271

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54 They filed motions to dismiss and set hearing dates for the hearing on the

motions on both cases - UCF & Valencia.

55 We went to the law library and our first day we realized that mandamus was
the proper remedy. We filed some struggle filings ???? March of 20187??? in

order to perfect the pleadings and did get them perfected in May of 2018

56 Since our previously filed mandamus requests went unanswered, we
reasoned that we had to bring it to the judge’s attention. We had also learned that
these were ex parte proceedings until the grant of the alternative writ and that we
werent required nor was it proper to serve respondents until the alternative writ

was granted.

57 We were (politely) scolded and Judge White admonished us for attempting o
circumvent legal process. While it was polite, he did try to explain to us that what
we were attempting to do, ex parte communication, was cheating. 15 year old
Will told the Judge through the microphone in open ex parte session that he was
wrong and that we had the absolute right to communicate ex parte per Fla. R. Civ,
P. 1.630. We were admonished more sternly and were forced by teh Judge to

even serve the petition prior to it’s being read. Judge Weiss’s order dated XX XX

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is clear in it’s departure from essential elements of law. This point of fact is

indisputable. (Motion for Summary Judgement, pg# XX XX)

CITE & BRIEF EXAMINATION O THE FIVE THINGS IN WEISS’S ORDER

58 Because extraordinary procedures at law take precedence over ordinary
procedures, once the perfected petition for mandamus was submitted it legally
became the controlling document. ???The Judges order??? makes it clear that the
petition for mandamus would only be considered once we had survived a
previously docketed hearing and that the hearing shall be on a motion to dismiss
the previous complaints for declaratory judgement. This already took the case
father afield from the prescribed process than any case I could find in case law, just
that we had to walk into a hearing on a motion to dismiss a document which was
no longer legally relevant after having a 15 year old (attempt to) correct a judge in

open session.

59 Once we were in the hearing we were forced to defend a case which was
now acase in mandamus. Because of unique circumstances, our only legal option
was to argue the case as was proper - a case in mandamus and we were forced to
present our entire case for mandamus as a defense to the motion to dismiss the

request for declaratory judgement. We were also forced, through direct

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questioning by the Judge, to address the replies to the responses which respondents
would have given in their response to the alternative writ. This is indisputably

reflected in the record. (Motion for Summary Judgement, pg# XXXX)

60 That obviously became significantly more challenging since we were forced
to first assert to Judge Weiss that he had in fact committed abuse of our due
process constituting reversible error and we handed him & respondents definitive
case law to that effect before I said anything toward the hearing’s noticed subject
matter. A 15 year old kid furiously writing notes for his old man to relay to the
court to these effects clearly messed with everyones head as he was hurling these
charges with the expedience necessary of another win-or-go-home confrontation.
Like the previous hearing in which we had 8 minutes to overcome an illegal assault
that defendants put on for 22 minutes, we had little time to claim and argue clear
abuse of due process & judicial error, put on our case for mandamus as the zealous

defense necessary to survive, and rebut both defense and direct bench questions.

61 A few weeks later defendants strenuously opposed a temporary injunction
allowing Will to simply start the courses which were being illegally denied
contingent on ultimate success in the case. There could be no argument that they
werent fully cognizant of the issues and their ministerial duty to provide the classes

all along and that it had just been so argued in court.

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Claim #4.5 - Overt Act of Fraud in Service of the Fraud in the Furtherance

62 Weimmediately approached the Fifth District Court of Appeals with a
poorly pleaded petition for certiorari and a perfected verified motion for temporary
injunction to the effect of the above. The appeals court eagerly accepted the filing
& walked Will over the goal line on the pleading deficiencies to get the matter

before the court.

63 The temporary injunction was for two courses which were being illegally
denied. Both classes had definitively passed the prerequisites that allowed him to
participate via their own rules, but Valencia lied to the tribunal quickly saying that
these were actually advanced level courses which they simply had the discretion to
deny. Both of these facts, that Will was legally eligible per their own illegal rules
and that they lied about it, are indisputable. (Motion for Summary Judgement,

pg# XXXXK & XXXX, respectively)

64 Nothing could have been further from the truth. They once again used
superior lawyering skills in the motions practice phase to assert lies which once
again gaslit us to the court as being completely out of touch and fundamentally

wrong. Once again the court accepted BakerHostetler’s appeal to the authority of

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the R.R.7-F-B. and asserted things which could not have been legally asserted.

Once again this strategy worked, as the injunction was never granted.

65 The perfected petition that had several enumerated claims for cert and one
for mandamus - titled “why this matters”. We had seen that the joinder of claims
was not impermissible and the mandamus claim was properly pleaded as a

ministerial duty to grant

66 The order to show cause, which can only be granted after determination of a
prima facie case for relief was made, was issued against Valencia on June 17, 2018.
Valencia failed to respond to several of the enumerated claims, including claims

against which no legal argument can be legally made per the R.R.7E-B..
[| EXAM OF POINTS IN CERT PETITION ]

67 Finding nothing preclusive about filing supplemental petitions at this stage
of a case and not wanting to miss any additional school, we filed a petition which
tested all the rights Valencia was abusing and prayed their relief as well as defining
the edges of each extraordinary writ. UCF has exhibited a pattern of using the
legal system itself as a vexatious strategy to keep people out of the program while

they have an indisputable right to it until they no longer have right to seek it

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because theyve aged out, so Will also submitted a perfected mandamus petition

against UCF to coerce them to perform ministerial acts as soon as possible.

68 Your Honors, claim 4 will be amended in the near future to reflect despicable
fraud at the Supreme Court of Florida level including fraudulent use of their police

force.

69 Unfortunately, I must hastily plead three novel yet meritorious claims of
Habeas Corpus. I assert them here as jurisdictional claims which will give your

Honors the temporal jurisdiction to address this injustice with appropriate

expedition

EMER(EN Cl

laim #5 Relief i for Fr. f ntial Righ
E ion under the 14th Amendmen

70 Brought for deprivation of a substantial right to education under 28 U.S.C. §

2241

71 Will stands in indisputable denial of his ability to participate in education
which he has himself funded as a taxpayer in the state of Florida. This must be
accorded additional significance in Florida because the state is not funded through

a payroll tax but rather through a state sales tax & he bought a bunch of guitars and

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computers (before the conspirators made him incomprehensibly and

physiologically ill)

72 That denial is incontrovertibly in direct and explicit opposition to a valid

Florida Statute, #S. 1007.271. It is illegal and there is no other remedy available

73 Will had an indisputable right to the full incorporation of constitutional

protections guaranteed under the 14th

74 Will has been denied that substantial night, or “liberty”

75 The argument:
“The Habeas Corpus secures every man here, alien or citizen,
against everything which is not law, whatever shape it may
assume.” Thomas Jefferson to A. H. Rowan, 1798. ME 10:61

76 Thomas Jefferson himself cries out for justice for these children from the

grave with two hundred year old words that founded our justice system

laim #6 Pravi lief in H r for Fr f Constitutional
Li r ral Due Pr nd Extraordin Pr f{L nder
the 14th Amendment

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77 The same 14th amendment guarantees incorporation of historic common law
and the protections codified in the Magna Carta when the first extraordinary writs
were turned against the king. (“The king” is coincidentally the metaphor we have
used since long before we knew what we were talking about to signify an

executive branch exercising illegal, arbitrary discretion.)

78 Wills rights have been so eroded that he has had to learn to conclusively
state a next-level claim of abuse of constitutionally guaranteed due process to the
Supreme Court of the United States of America to correct the inadvertent abuses of
a judicial system which we overwhelmed with legal assault upon the conspirators
to get them to stop doing crimes as a vexatious way to avoid the justice of
judgement in time for him to enjoy his rights before they expire (A claim of ours

which went unargued in state proceedings)

79 Will has been denied the right to extraordinary proceedings rooted in the
Magna Carta and guaranteed by the Constitution in each of the three levels of

Florida Court

80 First, in trial court, he was denied explicit right to extraordinary process
guaranteed under F/a. R. Civ. P. 1.630 which makes the grant of the writ ministerial

duty when due. This denial of his right to the grant of the writ was executed

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through the fraud upon the court by the criminal cabal of Baker Hostetler, it’s
attorneys Muldowney & Schachter, UCF and it’s “attorney” Youndy Cook and
Valencia. The denial was predicated upon several abuses of ordinary and
extraordinary process, abuses which are each explicit in the record. These include
materially lying to the tribunal in their first motion to dismiss, thereby overtly
joining the conspiracy. (A material lie which we demanded be retracted at the
time and has yet to be corrected by respondents.) We were also judicially
required to serve respondents in direct opposition to explicit process laid out in
1.630 as well as having to attend a hearing on the substance of a motion to dismiss
which was no longer proper in the case once we stated it properly as a case in
mandamus and had to then argue and defend our entire case in mandamus in order
to survive to fight another day. In that hearing Will argued, through notes written
to & through me, for his right to constitutional process in a hearing which we had

to turn into a fight against the Judge abusing due process.

81 Next, in appeals court, we were denied extraordinary process in the interest
of justice. Will had been granted an alternative writ on June XXXX, 2018
ordering Valencia to show cause why the relief demanded in the petition should not
be granted. This order could not have come before an initial determination of a
prima facie case for relief. A prima facie case for relief had then therefore been

proven. Valencia failed to argue properly pled and specified charges which were

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granted as having made such prima facie showing. One of the counts included a
perfected claim for relief in mandamus, a claim which was ministerially due per
case law cited in the petition. Again, when they realized the gravity of the case
and it’s position as the predicate fraud to the funding fraud which was at the time
engulfing the state in a duststorm, this was denied in an unelaborated order which
pointed out that unelaborated orders in connection with extraordinary writs were

not bars to reapplying for the same relief in any Florida court.

82 Four days later the brawl that the case had become was filed in the Supreme
Court of Florida. By this point the kid had a tight bead on it all and had stated an
indisputable claim for relief for three mandamus grants which per law were
ministerially due based on Comcoa & three which conclusively proved all four
elements of the criminal fraud in the furtherance. The Florida Supreme Court did
not follow the law and grant one writ which has one point of (mutually agreed-
upon) fact and one point of law that is less than a dozen words which show clear
conflict and demand for grant of relief under Comcoa, as the single count of
SC19-522 clearly offered the court jurisdiction and the interest of justice in which
to act in less than two dozen salient words strung together with the direct words

from the Supreme Court of Florida itself as the supporting logic

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Single point of fact - A high school GPA is required for home education

students. (Appendix pg XXX)

Single point of law - “A high school grade point average may not be

required for home education students” Florida Statute 1007.271(13)(b)(1)

83 This is all the relief he sought prior to the cabal’s egregious and personally
malicious three-year fraud in the furtherance which has caused substantial
discernible injuries. That and that they allow him to participate per law once he
has passed the tests identified per law which grant his legal eligibility, a claim for
mandamus which is every bit as clear as the above pendant unresolved issue.

Thats literally all he demanded of UCF

84 Instead of making reasonable remedial measures as required per the Rules
Regulating The Florida Bar 4-3 when presented indisputable controlling authority
in 2016, we are still being defrauded by the cabal of our right to justice through the
courts by their direct actions and fraud upon the court’s ability to deliver justice, as
once again he was denied rights of extraordinary process and relief codified 800

years ago in English common law and articulated in the U.S. Constitution.

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It all began as seemingly small defects & seemingly acceptable hassles to deal
with, like simply requiring a home education student’s parent to just write a
transcript that reflects a 3.0 GPA - what could be the harm in that? But as pled in
2016, that was unacceptably abusive of our parental rights to direct my sons
education. This seemingly small leak in the dyke becomes a dam failure of
process and gross miscarriage of justice, culminating in UCF fraudulently using
the police force they are entrusted with to defraud me of my personal liberty in the
service of the fraud in the furtherance of the underlying Dual Enrollment Fraud

Writ of habeas corpus is not static, narrow, formalistic remedy; its

scope has grown to achieve purpose of protection of individuals

against erosion of their right to be free from wrongful restraints

upon their liberty. Peyton v. Rowe, U.S.Va.1968, 88 S.Ct. 1549,
391 U.S. 54, 20 L.Ed.2d 426

85 This court seems to provide guidance that the writ shall be available to

correct such erosional assaults on fundamental liberty by the government as these

laim #7 Prayin lief in H r Rem Illegal mati
raint of Physical Li re Valencia’s Under E irem

86 Your Honors, the preceding two claims under habeas seem meritorious but
potentially judicially laborious. We are therefore willing to lay them aside in
favor of a more technical claim under habeas which we pray will allow for
expeditious disposition of the restraint on liberty. While Claim #7 is presently

strategically deployed as a jurisdictional claim to achieve the temporal expedience

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of a habeas claim which should give the claimant the right to substantially question
the legitimacy of such restraint, it is also a claim which is ripe for immediate
remedy in it’s own right as an egregious abuse of a student’s right to participate in

legally mandated education

87 Simply put, Valencia illegally dissuades Dual Enrollment students less than
16 years old from participating in the program per law by illegally requiring they
be escorted by their parent or guardian at all times on campus. Valencia is
ministerially required to offer the program per /'S 1007.271(13)(b) to home
education students legally eligible per FS 1007.271(13)(a). The four corners of
the program mandatorily required to be executed by the executive branch are
plainly defined in clear language of the blackletter of the law with such specificity
as to not need to proceed beyond the first step of the canons of statutory
interpretation. Nowhere in any of the 34 Dual Enrollment statutes can any such
or similar requirement be found. F.S. 1007.271(3) grants the only legal
mechanism within the four corners of the law for creating additional requirements
for the Dual Enrollment program. The underage escort policy may not be legally
required in that it fails to clear the additional requirement clause which states:

“Florida College System institution boards of trustees may establish

additional initial student eligibility requirements, which shall be

included in the dual enrollment articulation agreement, to ensure

student readiness for postsecondary instruction. Additional
requirements included in the agreement may not arbitrarily prohibit

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students who have demonstrated the ability to master advanced

courses from participating in dual enrollment courses” Florida Statute

1007.271(3)
88 First off, as is clear in the text and for reasons which we need not discern,
the legislature felt it inappropriate to grant universities a mechanism to “establish
additional initial student eligibility requirements”. Furthermore this requirement
cannot be said to “ensure student readiness for postsecondary instruction”.
Lastly, this policy does definitely and directly “arbitrarily prohibit students who
have demonstrated the ability to master advanced courses from participating in
dual enrollment courses” as it definitely does deny the personal liberty of the
parent or guardian in such a way as to virtually guarantee students cannot

participate during business hours unless they have a stay at home parent who can

physically attend to such.

89 Therefore the underage escort policy may not appear in the articulation

agreement per law.

90 Because the state has illegally exerted physical jurisdiction over the parent/

guardian of the eligible student, habeas should lie in relief

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91 Accordingly, we seek immediate redress under habeas corpus for the rights
of several hundred thousand students in grades 6-12 who are less than 16 years of
age which are currently being abused under this policy. The injury to the rights of
all of them is because there is no restriction on which college or university one
participates in, therefore the rights of each eligible student in the state are similarly

abused when any one of the 40 institutions fails to offer the program per law

Prayer for Relief

Your Honors,
This prayer will be amended in the near future. First and foremost, I, Wills dad,
pray that this Court see fit to open itself today for the Will to make a dying

declaration.

For reasons which I do not have time to explain now, I believe he will beat this.
Unfortunately few doctors would agree and he is now being kept sedated until we

find a cure.

My son deserves his day in court after spending what may be the last three years of

his life being abused by a criminal conspiracy operating under color of the state of

Florida in the pursuit of curing that abuse.

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My son is held in abeyance of his fundamental liberties to education and due

process.

He deserves to ask someone why. He deserves his Piphus hearing. And he

deserves to be there at least at the suits inception.

I cannot promise we will be able to revive him Monday or any day until we figure
out this orphan disease and can allow him to come out of sedation. As it stands,

his not being sedated is perilously and potentially fatally dangerous

I declare under penalty of perjury that the information in this petition is true and
correct. I understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.

Respectfully submitted this 2] stday of June, 2019

 

 

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1/77 UD] YBIE

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